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March 31, 2020

Honorable Edgardo Ramos
United States District Judge
Southern District of New York
40 Foley Square

New York, New York 10007

Re: United States v. David Pike, No. 17-cr-630 (ER)

Dear Judge Ramos:

This firm represents David Pike who has been charged in a criminal information with conspiracy
to commit bank fraud in violation of Title 18 USC §371. It is anticipated by the parties that this
matter will be resolved by a guilty plea. A change of plea control date is currently set for April 9,
2020.

Although the parties are close to finalizing a plea agreement, the final details have not yet been
worked out. Given the current coronavirus crisis and the nationwide virtual shutdown, we request
that the guilty plea control date be continued for approximately 60 days. Undersigned counsel
discussed this matter with assistant United States attorney Nicholas Folly, who consents to the
requested continuance. In addition, we agree that the time between April 9 and the new control
date be excluded from Speedy Trial.

Therefore, it is respectfully requested that the court enter an order continuing the April 9, 2020
change of plea control date for approximately 60 days.

Respectfully yours,

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